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“Joe Dale Walker
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“Monticello, MS 39654

Representing Suzanne Cringe {ns

Bob Owens |
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FIFTH CIRCUIT COURT OF -APPEALS ;
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Circuit: Motion of: Plaintiffa-Intervenors

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Plainciff('s MOTION. FOR ‘LIMITED CONSOLIDATION with NOTICE OF “HEARING fer) Apri 2,
1984 in Gulfport before udge FR f service, filed. ‘

Defendante’ MOTION. FOR TIME, NOTICE oF MOTION for hearing in Gul frort, on be2-8
before Judge Russell ,: cert of service, filed. :

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Defendants are granted an extension of time to and

1984 An which to:respond toiplf£t'sMotdon for Limited Cengolidatton -and Motion.
{-Order, filed end entered in ob 1984, page 588, copy mailed
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Pl ineiff's NOTICE. OF DEPOSI ¥ ‘School. District, ‘tn Offle
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ORDER: Two cases, (

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‘Defendanta' ‘Responses: to:Request: for. For Admissions From. Plaintif f= Intervenors,
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Motion cand Submission: jatatling Plaintiff’ 8 Attorneys Fees and Costa w/Not
MR in Gulfport wicert. ft. f

: ORDER: “the following amed children and their partents shall be allowed to be.
substituted in. cause as_Plotf.-Intervenors:  Sheanda N.. Bryant, as represented.
tyant; Louis. Devon Bridges, as represented by hia fath
ouis <Bri owers, a8 represented by her father, Billy Showers;
Eric Bridges, : as represented “by his father, Amos ‘Bridges: and L.{Sonya” ‘flarnea*”
eat by her father, Willie Lee Funchess, filed and entered. in OB 1984,.
Page..1080 and 1081. Copies of Order mailed to Attys. of Record

 

 

 
CIVIL DOCKET CONTINUATION SHEET

 

vavrence County School District, - | SOCKET NO, H2216_
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\ 3 gay Bo bo 8 ie Se FR ee Be : ¥
Defendant> is’ granted an extension of-time to and tneluding 8-7-84,° in
r attorney fees, filed and-entered in OB 1984,°

ttorneys.of record.” (DMR) >: nee ee

pinion. of: 6-25-84 inding Lawrence County School Dixerict to be tn
violation of 1969 Court rand setting forth enforcement of Optnton, fited .
nd entered in 49: pages ..1220-35, copy malied attorneys of record. (DMR)

Ghee below) ; Cae ee ome cen eT nora teehee

ORDER: Defendan rante N extension of time to and including 8+27-84' tn
which to anawer the Complaint of intervenors filed tn this vaction, filed and:

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‘Behool District shall provide to the Court and each.
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fflefates 2. A current list of a12
ed tow Lawrence County public school after addreas ||
or each student, name, Addross, custodtal atatus (if
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A chart, similar {n format to Attachment 3, showing the:
ch sending and recetving school. caured by enroll-
€ schools of students not residing in Lawrence
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enors; by Nov. ° 1, 1984, $6000.00. ‘by Feb. -1,.1985
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OR PRELIMINARY. INJUNCTION with NOTIC for hearing
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Affidavit of Charles Newsom; Affidavit 2s
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ORDER: Plaint iff-intervenora’ Motica for Pret iminar
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Plaintif{=intervenora® Response ‘and Position concerning the Fitth Chreute order :
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PROCEEDINGS

 

 

 

 

 

 

 

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NOTICE OF APPEAL to Fifth ¢ réuit Court | of Appeals from Opinion of i- 10-86 and
‘and subsequent: Sudaments; datedij]-14- 86 ae designatio of: record w/cert. of.

for appeal, fLled,

NOTICE oF. CROSS-APPRALE ith defts' designated record (Findings of. Fact
| Recommendat long: of Judge: Ruswell on May 18,.1970, and Memorandum Opinion
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RECORD on Croas-Appeal with + copy of Notice of Crosa-App al and ertif
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in pare, reversed in remanded for further proceedings consistent with
« this-opinion. the vestiges of past, segregation the. district <a
oard'to agsign teachers in compliance with thee
(2) revise attendance zones. (3) prepare:
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om attending school in other and to prohibit
[n. Lawrenée ‘County. schools by persons who reside outstde the.
county = (4) reve tw bus routs _for compliance with ‘the 1969 order and direc
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‘judgment of the District Co Cis affirmed tn part and reversed in part, and th
cause ds remanded te the District Court for further proceedings in accordance
with the opinton.of ‘this art. leota furcher ordered: that the defendant a-
Antervenors. appellants .the costs of. a peal to be taxed

Certified copy of 5th Circuit on Petitions For Rehearing. and Suggestions for
Rehearing fn Banct Petition ta denied, filed. ~ er ee ee

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as follows - The order directed that the School Board assign teachers {n com- |
_pliance with the 1969 order, as soon as practicable. (That order stated that: the
School Board shall assign teacghers.and ataff to each school "for the achool year

196970. and subsequent yeara po. that"the racial composition of a staff: (will:
not) “indicate tha sch # intended for Negro or white students” and so that
“the ratio of Negro to white teachers {n cach school, and the ratio of other =
staff in each, are substantially the same as cach auch ratio in to the teachera
and other staff, Yespectively,” in the entire school syatem". This waa th

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NTS, ert. of service, filed,
Utervear RROCATORIES to: the defendant, ¢ cert, of f nervice, ‘filed.

 

” ‘DEPUTY CLERK SHEET;
TS with Ginger fal}

{ deny ing motion,” Audamenc: be: submitted, Abed

Vr preliminar
dew @nvelope: in: back o

& hearing” in ne burg by. DSR on bal de 87 with
Both parties Were ta meet on April 23;

ed to meet either Apritt 24 or tenes 25, 1987;
nD Apribs27,y. 19

pea

 

Sheer! r

; reat hear ened
TRANSCRIPT. of Bench Opininn. o é 2

1987 before TSI, filed

 

Paint ft-tntervenorat NOTICE
MENTS of: p Dr. Dan. Martindale

Pltf=tntervenora’ NC
cert of ave, flied

6-18-87 ~intervenora'
; FOR PRoDUCTIO

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PLAINTIFF...

CIVIL DOCKET CONTINUATION SHEET”
of DEFENDANT. ee

UNITED STATES,” SHEANDA BRYANT, et all LA ENCE COUNTY SCHOOL DISTRICT | DocKeT No, H_2216

 

 

PAGE*S_OF.___ PAGES

 

 

 

 

 

 

 

 

dated Nov... 1969, filed ook BREE SEE a Byes Cane

Motion For Leave to Intervene, Cert of sve, with ate
for hearing by TSh a8 Soon as possible, filed. .6u =

-eert. of sery., f1led.-

may be heard w/cert and AFFIDAVIT of Norvel L. Burkett. & Exh.

 

5 Ee GO REET
Pltf-intervenors' NOTICE OF DEPOSITION of Kenneth Carr. on
FOR PRODUCTION, cert of s a ee

| Pltf-intervenora’, NOTICE OF DEPOSITION of Henry Russell, on 6-18-
FOR PRODUCTION, tof eves filed. ee ee :

Enrollments and racial bi a

i

achments, Notice. of Motion

Deft., Lawrence Co. S¢ ° Bt.,-RESPONSE to Motion for Leave to Intervene W

‘Deft., Lawrence Co. School Dist., MOTION to Amend Order of U.S. Ct. of Appeals’.
for Fifth Cireult dated 12/5 wW/NOTICE before TS fn'J'son as soon as counsel

SE to MOTION to INTERVENE w/cere. ¢

shall not enroll any atudenta who are not

school Dist. shall designate an Administrator for,

students, The Administrator shat} timely submit reports required... Lawrence ”

County School Board shall b reaponsthic for ‘carrying out the provisions ‘of

this order.” Whenever. any _p: ty receives evidence ‘that a student ts enrolled
Yolation of this order, that party shall notify the Superintendent. If

any.student i found to have improperly enrolled the district shall immediately

drop the student. If the court determines that the School District did not

: take all reasonable steps to inaure compliance with this order, the district:
shall. pay to the proper dist fet of enrotiment. of the atudent the sum of $75.00

for each calendar month or frac

up to a maximum of $2,250.00, gnated administrator shall maintain a

file containing all documentation,.submitted by each student, The residence of .
students in Appendix A has to be approved by either the parties or, the cour
in accordance with the procedures sect. out herein. “No auch student * shallebe «ise

“permitted to enrol) until the adminiatrator has determined that. the student is.

a bon de residents. The designated admintstrators shall he responsible for.”

determining the location of a mtudent's residence cand shall use. the definition
of residence contained in the Miss. High School Athletic Association Handbook, ~
The administrator shall persunally inspect the residence listed tabedi aenege”

times each year School

 

 

 
 

PLAINTIFF

UNITED STATES OF AMERICA, et "LAWRENCE COUNTY SCHOOL DISTRICT, ‘et | pocner no. a
‘ | PAGE 26.07

IIL DOCKET. CONTINUATION SHEET”
GEFENOANT Po

 

 

“_ pRoceeoINGs

 

 

 

 

 

~Pltf-intervenora are entitled to attorneys! fees and costs in the amount of
SSeS 500. 90 Copies mailed att orneyr, {Neds (SL i: 13- 787)

tes. Act 8 RESPONSE. ine op

“RETURN OF SERVICE on nubpoena of Charl te Powel} and Lynette. Walk
and on Charles. Prince and Ne :

 Pluf-tatervenora!: AMENDED. ESPO SE
S BVEy filed. :

“MODIFICATION: OF ORDER: © “Ordered that. paragraph 11 of Order. of 7-14-87 ts ‘modi

“DEPUTY CLERK SHEET: “Hearing on Motion te Incervene ‘tn J" non hy TSh on Aug. 3 4,

DEPUTY. CLERK SHEET: Near ing in-J' son om Aug. 6, 1987. by dudge Lee with Caro

mandate and {6 a reasonab] or Lawrence Count

 

a written report of ‘these {sics. “Principals or “teachers ‘may enroll their
children {n school zone in which they: teach regardless ‘of the legal residence

of ‘such teacher.” The sc Ol district ‘may enroll out of dounty atriority studer rie

in accordance with the 12- ~69 order of the Fifth ‘Cireufe Court of ‘Appeals. ”

‘On Oct. 18 of each year tha School District shall provide to the court a report.
_of measures kaken to insure Compl tance, a current list of all studente. The
‘order of Aug. 74°1984 ts ‘reseinded and this order is adopted tn tts place.

filed. —

‘SUPPLEMENT TO” MOTION FOR LEAVE TO INTERVENE with: Notice of Motion for hearing
by TSL’a&® roon as ‘possible, ert of sve, filed. oe

RETURN OF SERVICE on subpoen of Leslie Shivers On 7-23-87, filed,

Eied.as follows ie 1li: ~The designated administrators: shall be ‘responsible. for
A-student's residence. and whether that residence {a

, on the d ‘umentation submitted “by the

fore dence’: dent

EXHIBITS P-1 thru P-12, Pt-1 thru Pie 4 on Motion to Intervene in J'son_ before
Su. on Aug. 3-4, 1987, fLled dn large yellow envelope. ole

1987 with Carol Winstead as: court reporter Court dasued: bench opinion overe:
ruling. motlony. fled. eS me oS

Winstead as court reporter.” After hearing evidence and reviewing the. plan, the
court. stated thar the attendance. plan proposed complies. with the Fifth Circuit

 

 

, filed.

 

 

 
 

 

Civil. DOCKET CONTINUATION SHEET

 

PURINTIFE

U.S. Aes Sheanda Bryant, et al “Lawrence. County School istrict ~~

ORFENDANT Tage Ns negara! *
i DOCKET NO. W 2216

pacr, 27 or. PAGES.

 

 

DATE | NR:

| PROCEEDINGS

 

8-11-87 |

8-12-87

 

~ ORDER: Motion: “to. Intervene of. Michael Tyrone. Smith, et. ‘al. ts s hereb denied

 

 

a a

Copy, mailed i attorneys, filed and entered in OB Age? pare 116,

‘ORDER! © an chere Hand: onthe. map attached in approved. by. this: Court
for. the school: year beginning August, 1987, and for subsequent yearé, subject. te
further order of this Court, Further ordered: that the teacher assignments fort
“Lawrence County: ‘School District (Exhibit 8) are approved*for the: ‘school: year’
“beginning in August, 1987, furthered ordered that deft.” take wich measures: ae
are necessary to énsure. ‘compl {ance with the attendance zones. © Further ofdeted”
“that the deft take such measures as are necessary’ to provide additional funding.
for nécéxsary factlitios,” ataff, school buses, ete, as are necessary ta efel 4
fectuate the plan. approved. by this Order. . Further ordered that the #chool
idistrice “submit® ‘its proposed bus route plan to the parties for thetr review and.
“that the parties: report ‘to the Court by dete 15, 19875 © copy mailed attorneys,
filed. (TSL, 8- “bs 87) ee ae

RG foot

of Lawrence

 

Defts' MOT.LON To AMEND ORDER with Affidavit of Henry Russell and Notlee of Mot toy

for’ hearing. by. Judge Lee ind’ son as soon as possible, cert: of sve, Hee

Pltf-Intervenor' 8 RESPO SE to Motion. To Amend order,
ave, filed. :

‘Platnetff-tntervenora’ WITHDRAWAL oF ORIECTION to “the district! 8 request to -
postpone consolidation of 9t

‘ordered hat ‘this Court's Order of Aug. 12,1987, 1s. amended.
to permit the 9th grade students in’ the Lawrence County School system to remat
“at Topeka Tilton, Kew Hebron and Monticello Junior High School” for the 1988-89
_ school year. “This Court's

full ) {lod attorneys: of~ record, filed. = (TL 5-31- ~88)

APPLICATION for An Interim Award of Attys" Foes and | Boe
es w/cere. ‘of serv cand Exhibits A eeu 1 Filed. : .

beft.
filed.

 

“filed

 

 

 

 
 

  
   

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“ CRINTIFE is

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"Ay SHEANDA BRYANT,

CIVIL Docker CONTINUATION: SNEET
ea DELENDANT

 
  

 

 

      

et al..

  
    

  
 
 
    
  
 
  
     
   
   
 
  
 
   

 

 

 

 

 

as ye DOCKET No, H_2216
RENCE COUNTY SCHOOL DISTRICT, eta PAGE 28 or PAGES
DATE | NR | eos PROCEEDINGS
| = :
12-8q ORDER:

Deft is granted additional time until and: including 12-30-88, in which
oP po file fts ‘Tesponse te the “appl tfeatiton of Intervenors for attorney’ 8 fees;
: copy mailed Pttorneya, Filed, . (TSI. 12-9- 88) :
z * tek * he : a ia ee
SDSBB A oy ORDER: Ordered ‘that Lawrence County. School District fg: granted until and in-
“Cluding (1.64

89 -to:respond. to: “appl feation for interim attorney fees, Copy mail
. attorneys, filed. (Tsk 12 2-29-88) es

 

   

  

  
     
  

   
 
 
   
 
 
 
 
  
 
    
  
    
 

  

ro 2-89 eo To merng? “MOTION FOR" LEAVE. TO FILE. BRIEF IN EXCESS oF Pace Ld Init, cert of AVC,

 

~89 - Defes' oProsiTion. to plaint iff-intervenora*

Attorney's Fees, Affidavit. of Henry Russe
Kenneth Carr with exhibite attached, “ATH
Kenneth. A. Ruther {ord.wi ith: erhibits attac

App lifeat ton: For: Interta, ‘Award 0

MD and exhibite Attached, Affidavit
davitof.. Bruce 8, +

hed, cert of sve

   
 
   

 

19 Eorper: Ordered
# to file their re
Fees. Ain exress o;

 

that Lawreneé County Schoot Diserict,
Sponsive brief ta the
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et “al” are ‘granted leave |
fcthe page

Application For Award of Interim Attorney's
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ORDER: “Pltf-tatervenors ar
Co application. for interim

 

° ranted ‘time unttl and ine

Luding 1+ 27+ -89, to reapong
attorney fees. (TS J}. 712-89, Cy eod l- ~20-89)
ie al i

   
   
  
   

 
  
   
 
 

Defers! Supplemental Opposition to application for interim award of attorneys!
fees and expenses, :

    

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ORDER: Pitts
page limtr

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MENRANDUN op twi0x : appt Ager iced for an interim

Of attorney's fees & ié Rranted and it ts ordered that plef-
are awarded the sum of: $144, 860, 81 _with interent at he legal fate fr
1987; ¢e, cod 5+30-89," » (TWh : ae

  
   

award
intervenors
om Aug,

  
  
   
  
 

     

 

 

 
   

  
 

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JUDCMENT: - Ordered that.
Dist. the gum x

   

 

 

 
 

 

 

 

 

 

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“Ene rom Aug, 1987 as’ follows: -'$35,000 payable b
able. 1-31-91 +, 860,000 Payable a I+ Abe 8 we:

 

 

 

 

 

 

and racial balance of classes of respective Attendance:
Lawrence.County. Schools based.on school month nearest

 

 

 

 
